EXHIBIT A
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AO 88B (Rev. 02/144 Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of New York

Government Employees Insurance Co., et al.

Plaintiff
Vv.

Civil Action No, 1:22-cv-03728-LDH-SJB

Eric Kenworthy M.D., et. al.

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

. Law Offices of Zara Javakov, Esq., P.C.
To: 100 Livingston Street, 4th Floor, Brooklyn, New York 11201

(Name of person to whom this subpoena is directed)

Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information. or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attached Rider °A”

Place: Rivkin Radler, LLP - Attn: Michael Vanunu, Esq. Date and Time:
926 RXR Plaza

Uniondale, New York 11556 09/02/2022 10:00 am

inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land. or
‘other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(c) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 08/12/2022

  

 

 

CLERK OF COURT
ef Ao
Signature of ‘Clerk or Deputy Clerk of tlorney s signature
The name, address, e-mail address, and telephone number of the attorney representing (ane of parw) Plaintiffs,
Government Employees Insurance Co., et al. . who issues or requests this subpoena, are:

Michael Vanunu, 926 RXR Plaza, Uniondale, NY 11556, michael.vanunu@rivkin.com, 516-357-3000

 

Notice to the person who issues or requests this subpocna
If this subpocna commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AQ 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No, 1:22-cv-03728-LDH-SJB

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 43.)

| received this subpoena for (nanie of individual and title. if any)

 

On Adate)

 

“J I served the subpoena by delivering a copy to the named person as follows:

 

 

 

on (date) ,or

 

   

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

My fees are $ for travel and $ for services, for a total of $ 0.00

{ declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:

 
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(vc) Place of Compliance.

(1) For a Triat, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A} within 100 miles of where the person resides, is cmployed, or
regularly transacts business in person; or
(B) within the state where the person resides, is cmployed, or regularly
Iransacts business in person, if the person
(i) is a party or a party's officer: or
Gi} is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discavery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides. is
employed, or regularly transacts business in person: and

{B) inspection of premises at the premises to be inspected,

(d} Protecting a Person Subject te a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attomey
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorneys fees—on a party or atiomey who
fails to comply.

(2) Command to Produce Materials or Permit inspection.

(A) Appearance Nat Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Odjections. A person commanded to produce documents or tangible
things or lo permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. [f an objection is made.
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only.as directed in the order, and the
order must protect a person who is neither a party nor a party's officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

{ii} requires a person to comply beyond the geographical limits
specified in Rule 45(¢);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

{iv) subjects a person to unduc burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

{i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an wnretained expert's opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study thal was not requested by a party.

(C) Specifying Conditions as an Alternative, In the circumstances
described in Rule 45(d)}(3)(B}, the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
canditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

{ii} ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

()) Producing Documents or Electronically Stored information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or fons in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

{D) fnaceessibie Electronically Stored information, The person
responding need not provide discovery of electronically stared information
from sources that the person identifies as not reasonably accessible because
of unduc burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2K(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) dafermation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangiblc things in a manner that, without revealing information itsclf
privileged or protected, will enable the parties to assess the claim.

(B) information Produced. Lf information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destray the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified: and may promptly
present the information under scal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved,

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing courl—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed, R. Civ. P. 45(a} Committee Note (2013).
RIDER “A”

Time Period: June 1, 2021 to the Present.
Persons and Entities at Issue:
l. Eric Kenworthy, M.D. (“Kenworthy”); and

2, Eric Kenworthy MD (A Sole Proprietorship) (the “EK MD Sole
Proprietorship”); and

3. Eric Kenworthy (A Sole Proprietorship) (the “EK Sole
Proprietorship”).

Definitions: The term “You” or “Your” means Law Offices of Zara Javakov, Esq., P.C., and
any of its owners, members, shareholders, representatives, employees, agents. successors, and
assigns.

The term “Persons at Issue” means Kenworthy, the EK MD Sole Proprietorship and the EK Sole
Proprietorship.

The term “Processor” means any individual and/or entity that (a) referred any of the Persons at
Issue to You for any service; and/or (b) provided any documents to You related to or concerning
the creation and/or submission of any bill to GEICO on behalf of any of the Persons at Issue,
including, but not limited to. New York Billing and Processing Corporation and/or Yana
Marinovich.

The term “Funder” shall mean any individual and/or entity that provided funding, financing, loan,
and/or line or credit to any of the Persons at Issuc.

The term “document” shal] be construed to include any written, recorded, or graphic material, or
any other means of preserving thought, expression, or communication, whether handwritten,
typed, printed, electronically or otherwise created, including telephone slips and logs, diary entries,
calendars, reports, correspondence, memoranda, notes, electronic mail, video tapes, video
cartridges, audio tapes, electronic recordings of any kind, photographs, computer tapes, computer
diskettes and disks, computer hard drives or servers, and any transcriptions and printouts in Your
possession, custody or control. A draft or non-identical copy is a separate document within the
meaning of this term.

The term “communication” means all electronic mail, text messages, discussions, conversations,
meetings, conferences, telephone conversations, interviews, negotiations, agrecments,
understandings, cards, letters, correspondence, facsimile transmissions, telegrams, telexes,
voicemails, or other forms of written or verbal interchange, however transmitted or stored,
including reports, notes, memoranda, lists, summaries, agenda and other records of any
communications.
The term “related to” means concerning, referring to, pertaining to, describing, referencing,
evidencing, constituting, or substantiating, and shall have the broadest mcaning possible consistent
with the terms of the Federal Rules of Civil Procedure.

The term “Insurance Payments” means any payments made by an insurance company.

The term “payment” means anything of value.

ITEMS REQUESTED:

For the time period identificd above, provide:

1.

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All documents related to any account reccivable, funding, loan, or line of credit provided
to any Persons at Issue. This request includes, but is not limited to, (a) written agreements,
(b) batch requests, (c) payments (including all checks and/or electronic transfers). (d)
payment directives, (¢) attorney escrow agreements, and (f) retainer agreements.

All documents relating to or reflecting the receipt of and/or distribution of any Insurance
Payments related to any of the Persons at Issue. This request includes, but is not limited to,
cancelled checks, wire transfers, cash disbursements, [OLA/Trust Account bank
statements, and/or account ledgers. -

All documents between You and (i) any Funders (or any individual acting on its behalf)
that are related to or concern any of the Persons at Issue: (ii) any Processor (or any
individual acting on its behalf) that are related to or concern any of the Persons at Issue;
and/or (iii) any person and/or entity that are related to or concern the creation and/or
submission of any bill to GEICO on behalf of any of the Persons at Issue.

All documents in your possession that are between any of the Persons at Issue and (i) any
Funders (or any individual acting on its behalf) that are related to or concern any of the
Persons at Issue: (ii) any Processor {or any individual acting on its behalf) that are related
to or concern any of the Persons at Issue; and/or (iii) any person and/or entity that are
related to or concern the creation and/or submission of any bill to GEICO on behalf of any
of the Persons at Issue

All communications that are related to or concern (i) any of the Persons at Issue, or (ii) any
transaction that is the subject of Request Number 2 herein between You and (a) any Funder
(or any individual acting on its behalf); (b) any Processor (or any individual acting on its
behalf); (c) that are related to or concern the creation and/or submission of any bill to
GEICO on behalf of any of the Persons at Issue: and/or (d) that are related to the
distribution of any Insurance Payments by You in relation to any of the Persons at Issuc.

The name, address, e-mail address, and telephone number of the attorney representing Plaintiffs
Government Employces Insurance Co., ct al., who issues or requests this subpoena, is: Michael
Vanunn, Esq., Rivkin Radler LLP, 926 RXR Plaza, Uniondale, New York 11556, (516) 357-3337,
Michael.vanunu@rivkin.com.

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of New York
Government Employees Insurance Co., et al.

Plaintiff

y. Civil Action No. 1:22-cv-03728-LDH-SJB

Eric Kenworthy M.D., et. al.

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

JP Morgan Chase Bank, NA
To: 136 Fulton Avenue, Hempstead, New York 11550

(Name of person to whom this subpoena is directed)

vf Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attached Rider "A"

Place: Rivkin Radler, LLP - Attn: Michael Vanunu, Esq. Date and Time:
926 RXR Plaza
Uniondale, New York 11556 08/31/2022 10:00 am

C1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT ° Joa
OR

 

Signature of Clerk or Deputy Clerk Attorney’s signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiffs,
Government Employees Insurance Co., et al. , who issues or requests this subpoena, are:

Michael Vanunu, 926 RXR Plaza, Uniondale, NY 11556,michael.vanunu@rivkin.com, 516-357-3000

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:22-cv-03728-LDH-SJB

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

C1 I served the subpoena by delivering a copy to the named person as follows:

On (date) ; Or

C1 I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc.:

 
AO &8&B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

() For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) /nformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
RIDER “A”

Full Caption: GOVERNMENT EMPLOYEES INSURANCE COMPANY, GEICO
INDEMNITY COMPANY, GEICO GENERAL INSURANCE
COMPANY and GEICO CASUALTY COMPANY,

Plaintiffs,
-against-

ERIC KENWORTHY, M.D., ERIC KENWORTHY MD (A Sole
Proprietorship), ERIC KENWORTHY (A Sole Proprietorship), Y ANA
MIRONOVICH, NEW YORK BILLING & PROCESSING CORP. and
JOHN DOE DEFENDANTS “1” through “10”,

Defendants.
Time Period: June 1, 2021 to the Present.
Account Information: All accounts that has been maintained by Law Offices of Zara Javakov,

Esq., P.C. (100 Livingston Street, 4" Floor, Brooklyn, New York 11201),
including by not limited to, account number 081976825.

Categories: For the time period identified above:
1. All cancelled checks, electronic transactions, and related documents reflecting

monies deposited into or withdrawn from any escrow/IOLA or other account (including but not
limited to deposit and withdrawal slips, including offsets, cashier’s checks and bank checks made,
electronic fund transfers, wire transfers, and deposited checks) that were for or on behalf of Eric
Kenworthy MD (Tax Identification Number: XX-XXXXXXX) and/or Eric Kenworthy (Tax
Identification Number: XX-XXXXXXX):

a. For every cancelled check, include the name of the bank of first deposit,
account number for the depositor account, and any related account
information.

b. For every electronic fund transfer with another JP Morgan Chase Bank, NA

account, whether in the form of a credit or debit, provide the full account
number and the name of the account holders.
c. For every electronic fund transfer with a non- JP Morgan Chase Bank, NA
account, whether in the form of a credit or debit, provide the full account
number and routing number.

2. All transaction statements, reconciliations, receipts and disbursement journals,
account ledgers, books of accounts, summaries, and similar documents reflecting any transactions
involving funds that were for or on behalf of Eric Kenworthy MD (Tax Identification Number: 54-

8988346) and/or Eric Kenworthy (Tax Identification Number: XX-XXXXXXX).

This request includes accounts held at any banks that have merged into or have been
acquired by you.

The name, address, e-mail address, and telephone number of the attorney representing Plaintiffs
Government Employees Insurance Co., et al., who issues or requests this subpoena, is: Michael
Vanunu, Esq., Rivkin Radler LLP, 926 RXR Plaza, Uniondale, New York 11556, (516) 357-3337,
Michael. vanunu@rivkin.com.

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